977 F.2d 593
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Saul MUNOZ-GUTIERREZ, Defendant-Appellant.
    No. 91-50799.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 14, 1992.*Decided Oct. 6, 1992.
    
      Before WIGGINS, KOZINSKI and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      This case is controlled by our opinion in United States v. Campos-Martinez, No. 92-50756, slip op. ---- (9th Cir. ---- ----, 1992).   Accordingly, the decision of the district court is vacated and the case remanded for resentencing.
    
    
      
        *
         The panel finds this case appropriate for submission without argument pursuant to Fed.R.App.P. 34(a) and 9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    